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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                          Case No.: 17-CR-623 JLS
12                                      Plaintiff,
                                                         ORDER REGARDING
13    v.                                                 DEFENDANTS’ JOINT MOTIONS
                                                         TO DISMISS (1) FOR FALSE
14    DAVID NEWLAND, et al.,
                                                         STATEMENTS TO THE COURT;
15                                  Defendants.          BRADY VIOLATIONS; FAILURE TO
                                                         CORRECT FALSE NARRATIVE;
16
                                                         AND BRIBERY OF WITNESSES;
17                                                       AND (2) DUE TO PROSECUTOR
                                                         MISCONDUCT
18
19                                                       (ECF Nos. 873, 902)
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22         On April 20, 2022, Defendant Lausman filed a Motion to Preclude Presentation of
23   False and Irrelevant Evidence and Request for an Evidentiary Hearing re Brady Violation
24   (the “Brady Motion”) (ECF No. 844). The Court granted Defendant Lausman’s request
25   for an evidentiary hearing and ordered the Government to install a taint team to handle the
26   Brady Motion. See ECF No. 848. The Court held a three-day evidentiary hearing on April
27   26–28, 2022. See ECF Nos. 857–60. Defendants’ Joint Motion to Dismiss for (1) False
28   Statements to the Court; (2) Brady Violations; (3) Failure to Correct False Narrative; and

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 1   (4) Bribery of Witnesses (the “Omnibus Motion”) (ECF No. 873), and Defendants’ Joint
 2   Motion to Dismiss Due to Prosecutor Misconduct (the “Misconduct Motion”) (ECF No.
 3   902), followed. Also before the Court are Defendant Loveless’s Supplemental Brief
 4   Regarding the Omnibus Motion (ECF No. 921), Defendant Loveless’s Supplemental Brief
 5   Regarding the Misconduct Motion (ECF No. 920), and Defendant Dolan’s Supplemental
 6   Brief Regarding the Brady Motion (ECF No. 851). The Court granted all Defendants’
 7   requests for joinder in these matters. The Government taint team filed an Opposition to
 8   the Omnibus Motion (ECF No. 896), and the Government prosecutorial team filed an
 9   Opposition to the Misconduct Motion (ECF No. 931). After considering the Parties’
10   arguments, the evidence, and the testimony from the evidentiary hearing, the Court rules
11   as follows.
12                                       BACKGROUND
13         The Court and the Parties are familiar with the factual and procedural background
14   of this case. Therefore, the Court only recounts the facts and procedural history relevant
15   to the three main issues raised in the present Motions and explored at the evidentiary
16   hearing: (1) federal agents’ communication with Christy Tabancura (“Ynah”); (2) federal
17   agents’ offer to pay foreign witnesses to come to the United States to testify at trial; and
18   (3) Jose Sanchez’s possession of child pornography.
19   I.    Ynah
20         The Government alleged in Overt Act 118 of the Indictment that in May 2008 in
21   Manila, Philippines, Defendants Dolan, Loveless, and Lausman attended “a raging multi-
22   day party, with a rotating carousel of prostitutes,” hosted by Leonard Francis (“Francis”).
23   ECF No 1 ¶ A118. The Government alleged that Ynah was the prostitute who provided
24   services to Defendant Lausman.       This is the only allegation in the Indictment that
25   Defendant Lausman accepted the services of a prostitute as a bribe. On March 2, 2022, the
26   Government asserted in its opening statement that “Defendant[] Lausman’s wife Carol
27   didn’t come to Manila, and so Defendant Lausman partied along with the rest of the
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 1   members of the conspiracy . . . and in Manila he accepted a prostitute from Leonard Francis
 2   as well.” Transcript of Gov’t Opening Statement at 31 (Mar. 2, 2022).
 3         On March 4 and 8, 2022, just days after the Government’s opening statement, federal
 4   agents Jill Kelley and Oscar Cunha made contact with Ynah for the first time. Agents
 5   Kelley and Cunha testified at the evidentiary hearing that the purpose of contacting Ynah
 6   was to invite her to testify at trial, and that they had no intention of conducting a substantive
 7   interview over the phone or by text. Ynah declined to travel to the United States to testify;
 8   however, Ynah spontaneously texted the following message to federal agents:
 9                That particular person, he doesn’t even look like that he wants
                  me to go with him but Leonard really pushed for it, so I still went
10
                  with him in his room but nothing happened, I even slept on the
11                couch lol
12
                  Reason I did went with him is because I want to get paid
13                ofcourse. So Yeah, told Leonard something happened so I get
                  paid
14
15   ECF No. 846-1 at 7–8 (text reproduced verbatim). This statement was a spontaneous
16   disclosure and was not made in response to any question or statement by federal agents.
17         The agents verbally reported to AUSA Mark Pletcher (“Mr. Pletcher”) immediately
18   after these contacts with Ynah and inquired how they should write up the information in a
19   report. Mr. Pletcher advised the agents to “circle back.” The agents approached Mr.
20   Pletcher a total of four times regarding writing a report on the Ynah contacts, and each time
21   he told them to follow up with him at a later time. It was only after Defendant Lausman
22   filed the Brady Motion on April 20, 2022, that agents prepared an NCIS report regarding
23   the contacts with Ynah, six weeks after the contacts took place. See ECF No. 846-1. No
24   evidence was admitted at trial to support the Government’s assertion in opening statement
25   that Defendant Lausman accepted the services of a prostitute.
26   II.   Compensation of Witnesses
27         When the Court ordered the Government to turn over agent and prosecutor
28   communications relevant to the Brady Motion, Defendants discovered that Agent Cordell

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 1   De La Pena instructed other federal agents to offer potential foreign witnesses up to $5,000
 2   to come to the United States to testify. Email evidence shows that Agent De La Pena asked
 3   his supervisors whether witnesses could be paid under his agency’s policies, and his
 4   supervisors indicated they could. Agent De La Pena then instructed other agents to raise
 5   the prospect a cash payment with overseas witnesses, but ultimately no witnesses agreed
 6   to testify and no payments were made. At the evidentiary hearing, Agent De La Pena
 7   testified that he wanted to offer compensation to foreign witnesses for lost wages and
 8   childcare costs.
 9   III.   Child Pornography
10          Jose Sanchez (“Sanchez”) was a Francis coconspirator who cooperated with the
11   Government. The Government admitted dozens of emails between Sanchez and Francis at
12   trial and used these records as evidence that the Defendants participated in the charged
13   conspiracy.   Additionally, Sanchez allegedly planned to testify at trial that he saw
14   Defendant Lausman leave the party in Manila with Ynah. Defendant Lausman allegedly
15   told Sanchez the next morning that he did not have sex with Ynah, and that she slept on
16   the couch in his hotel room.
17          In its motions in limine, the Government represented to the Court that during the
18   electronic processing of Sanchez’s computer, “an algorithm flagged certain images on the
19   computer as potential child pornography.” ECF No. 528 at 23. However, the Government
20   asserted that law enforcement reviewed the images in consultation with the National Center
21   for Missing and Exploited Children (“NCMEC”) and “concluded that the images were not,
22   in fact, child pornography.” Id.
23          The Government produced additional discovery around the time of the Brady
24   Motion related to Sanchez’s alleged possession of child pornography. NCMEC had
25   concluded that the flagged image files on Sanchez’s computer did not match any previously
26   identified child pornography, and the usernames and emails associated with Sanchez did
27   not lead to matches in the NCMEC database; however, NCMEC did not find definitively
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 1   that the files were not child pornography. The Government did not call Sanchez to testify
 2   at trial.
 3           At the evidentiary hearing, Defendants explored both the Government’s failure to
 4   issue a report regarding Ynah and Agent De La Pena’s offer of compensation to foreign
 5   witnesses. Defendants’ Omnibus and Misconduct Motions followed.
 6                     SUPPRESSION OF EXCULPATORY MATERIAL
 7           Defendants argue that the Government violated its Brady obligation by failing to
 8   disclose exculpatory or impeachment material that (1) federal agents communicated with
 9   Ynah; (2) federal agents offered to pay foreign witnesses to come to the United States to
10   testify at trial; and (3) Jose Sanchez possessed child pornography and received related
11   nonprosecution benefits. ECF No. 873 at 15–16; ECF No. 851 at 2.
12           In Brady v. Maryland, the Supreme Court held that “the suppression by the
13   prosecution of evidence favorable to an accused upon request violates due process where
14   the evidence is material either to guilt or to punishment, irrespective of the good faith or
15   bad faith of the prosecution.” 373 U.S. 83, 87 (1963). There is no violation of Brady if
16   disclosure is “made at a time when disclosure would be of value to the accused.” United
17   States v. Gordon, 844 F.2d 1397, 1403 (9th Cir. 1988) (quoting United States v. Davenport,
18   753 F.2d 1460, 1462 (9th Cir. 1985)); see also United States v. Shelton, 588 F.2d 1242,
19   1247 (9th Cir. 1978) (holding delay in disclosure only requires reversal if it so prejudiced
20   appellant’s preparation or presentation of his defense that he was prevented from receiving
21   a fair trial), cert. denied, 442 U.S. 909, 99 (1979). Additionally, there is no violation of
22   Brady if the defendant “has enough information to be able to ascertain the supposed Brady
23   material on his own.” Milke v. Ryan, 711 F.3d 998, 1017 (9th Cir. 2013) (quoting United
24   States v. Aichele, 941 F.2d 761, 764 (9th Cir. 1991)).
25           “To establish a Brady violation, the evidence must be (1) favorable to the accused
26   because it is either exculpatory or impeachment material; (2) suppressed by the
27   government, either willfully or inadvertently; and (3) material or prejudicial.” United
28   States v. Blanco, 392 F.3d 382, 387 (9th Cir. 2004). “Failure to disclose information only

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 1   constitutes a Brady violation if the requested information is ‘material’ to the defense.”
 2   Sanchez v. United States, 50 F.3d 1448, 1454 (9th Cir. 1995); United States v. Bundy, 968
 3   F.3d 1019, 1039 n.7 (9th Cir. 2020) (“[T]he materiality of evidence under Brady is an
 4   objective inquiry.”). The Ninth Circuit has made clear that a court may not apply Brady’s
 5   appellate materiality standard when evidence emerges mid-trial, as it did here. See Bundy,
 6   968 F.3d at 1033 (9th Cir. 2020) (citing United States v. Olsen, 704 F.3d 1172, 1183 n.3
 7   (9th Cir. 2013)). Instead, the court must “assess the relative value of the [evidence] on the
 8   basis of the indictment, the pretrial proceedings, the opening statements, and the evidence
 9   introduced up to that point.” Bundy, 968 F.3d at 1033.
10   I.     Ynah
11          The Court concludes, and the Government concedes, see ECF No. 896 at 2–3, that
12   Ynah’s statements to federal agents on March 4 and 8, 2022, were exculpatory evidence
13   that the Government had a duty to disclose pursuant to Brady and its progeny.
14   Furthermore, such evidence was suppressed by the Government.1 The Court additionally
15   concludes that the evidence was material, but that the prejudice to Defendants was
16   minimized for several reasons.
17          First, as to Defendant Lausman, the Government contends that Defendant Lausman
18   had “the same information and more from Ynah before trial and before the prosecution,”
19   and therefore there was no Brady violation. ECF No. 896 at 3. The Court agrees.
20   Defendant Lausman’s investigator contacted Ynah before trial and received more detailed
21   information than the federal agents. Therefore, Defendant Lausman was not prejudiced
22   because he had enough information to ascertain the exculpatory information without the
23   disclosure. See Rhoades v. Henry, 598 F.3d 495, 502 (9th Cir. 2010) (“[N]o Brady
24   violation occurs when a defendant possessed the information that he claims was withheld.”)
25   (citation omitted).
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       Whether the information was suppressed willfully or inadvertently is irrelevant to the Brady analysis.
28   See Blanco, 392 F.3d at 387. However, the Court finds infra that the Government willfully suppressed
     the evidence regarding Ynah.

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 1         Although the Court finds there was no Brady violation as to Defendant Lausman,
 2   the Government was still obligated to promptly disclose this exculpatory information and
 3   correct the statement it made in opening that Defendant Lausman accepted the services of
 4   a prostitute. The Court sanctioned the Government for withholding the evidence by
 5   striking Defendant Lausman from Overt Act A118 of the Indictment.                 The Court
 6   determined that a curative instruction to the jury remedied the Government’s statement
 7   during opening. Accordingly, the Court delivered the following instruction to the jury:
 8                The Court has determined that there is no evidence to sustain the
                  allegation that Defendant Lausman accepted the services of a
 9
                  prostitute at the Makati Shangri-La Hotel in Manila, Philippines.
10                Accordingly, the Court has stricken Defendant Lausman from
                  overt act A118 of the indictment. You must disregard the
11
                  Government’s argument during opening statement that
12                Defendant Lausman accepted the services of a prostitute.
13
                  This instruction stems from the Government’s failure to timely
14                disclose favorable evidence applicable to Mr. Lausman. You
                  may not consider this instruction as an indication of the Court’s
15
                  view of the allegation set forth in overt act A118 as to any other
16                defendant.
17         Second, the Court finds there was no violation of Brady as to all Defendants because
18   the disclosure came midtrial when the evidence was still of value to the Defendants. The
19   Defendants argue that “the government’s contact with Ynah provided exculpatory
20   information to rebut a central premise of the government’s case—the exchange of paid
21   sexual encounters for secrets.” ECF No. 921 at 2. The Government counters that
22   “[d]isclosure during trial generally satisfies Brady.” ECF No. 896 at 4.
23         Examining the evidence objectively, see Bundy, 968 F.3d at 1039 n.7, Ynah’s
24   statement supports the Government’s assertion that Francis provided coconspirators with
25   the services of prostitutes. In Ynah’s statement to federal agents, she said Francis “pushed”
26   for her to go with Defendant Lausman to his hotel room, and that she lied to Francis that
27   “something happened,” presumably sex, so Francis would pay her more money. See ECF
28   No. 846-1 at 7–8. This does not create a “glaring hole in the government’s case,” as the

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 1   Defendants allege, ECF No. 921 at 2, but instead effectively confirms that Ynah attended
 2   the party as a prostitute and received payment from Francis to provide prostitution services
 3   to the attendees. However, if Defendants wanted to use this evidence to undermine the
 4   Government’s “sex for secrets” theory, they had ample opportunity to do so.                        The
 5   Defendants had weeks of trial remaining when this evidence came to light.2 As an
 6   additional sanction for failing to timely disclose this evidence, the Court instructed the
 7   Parties to meet and confer regarding a stipulation about Ynah’s statements to investigators;
 8   however, no stipulation or other request regarding Ynah’s statements were forthcoming.
 9   Therefore, the Court already fashioned an appropriate sanction for the Government’s
10   failure to timely disclose this information to Defendants, which Defendants had the ability
11   to utilize during trial.
12            The midtrial disclosure of evidence regarding federal investigators’ contact with
13   Ynah did not constitute a violation of Brady resulting in substantial prejudice to
14   Defendants. Defendant Lausman had the same, and likely better, information before the
15   Government, and the other Defendants had time and opportunity to utilize the evidence in
16   their defense. The Court addressed this issue when it arose with a curative instruction, and
17   no further remedy is required at this stage.
18   II.      Compensation of Witnesses
19            Next, Defendants argue that the Government failed to disclose impeachment
20   evidence that Agent De La Pena instructed other federal agents to offer potential foreign
21   witnesses up to $5,000 to come to the United States to testify. ECF No. 873 at 16.
22   Defendants characterize this as an attempted bribery of witnesses.
23            Even assuming this evidence was impeachment material suppressed by the
24   Government that was material to the Defendants, there was no due process violation under
25   Brady. The Court need not reach the question of whether the offer of payments to potential
26   witnesses was proper because the disclosure of this information came midtrial. There was
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         The disclosure came on April 20, 2022, and closing arguments concluded June 7, 2022.

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 1   no violation under Brady because “the documents were disclosed to the defendants while
 2   they were still of substantial value at trial.” Gordon, 844 F.2d at 1403. Defendants had
 3   ample opportunity to utilize this evidence because Agent De La Pena was subject to recall,
 4   and Defendants could examine him about this evidence. Therefore, the Court finds there
 5   was no violation of Brady or its progeny for the failure to disclose Agent De La Pena’s
 6   offer of compensation to foreign witnesses.
 7   III.   Child Pornography
 8          Finally, Defendants argue that the Government failed to disclose suspected child
 9   pornography images located on devices possessed by Jose Sanchez and the related
10   nonprosecution benefits Sanchez received. ECF No. 851 at 3–5. During trial, the Court
11   found that the Government misrepresented the content of the images located on Sanchez’s
12   computer in its motions in limine and that the Government failed to provide timely
13   discovery with respect to the analysis of the images, such as Agent Cunha’s emails and
14   Agent Curry’s search warrant application.
15          As a sanction for the untimely disclosure and Defendants’ inability to retain an
16   expert to examine the files, the Court informed counsel that the following jury instruction
17   would be given:
18                You are about to hear the testimony of Jose Sanchez. The Court
                  has determined that the Government failed to timely disclose
19
                  information to the Defendants regarding suspected child
20                pornography files located on Mr. Sanchez’ computer during a
                  search at his residence in 2013. Because the Defendants have
21
                  not had sufficient to time to investigate this information, you may
22                assume that the files in question were in fact child pornography.
23          After this proposed instruction was announced, the Government did not call Sanchez
24   as a witness, and he did not testify at trial. Therefore, Defendants were ultimately not
25   prejudiced by the untimely disclosure because Sanchez did not testify on behalf of the
26   Government. Additionally, at the time of disclosure midtrial, Defendants were fully aware
27   of the nonprosecution benefit contained in Sanchez’s plea agreement and still had the
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 1    ability to use the late-disclosed information in trial.3 See Gordon, 844 F.2d at 1403. Thus,
 2    the Court concludes no further relief is required under Brady.
 3                                 PROSECUTORIAL MISCONDUCT
 4           Defendants argue that the Court should exercise its supervisory power to dismiss the
 5    Indictment with prejudice because of the Government’s flagrant and severely prejudicial
 6    misconduct. ECF No. 873 at 27–28. Defendants argue that the prosecution team’s
 7    misconduct in this matter “has severely prejudiced the defendants’ ability to receive a fair
 8    trial.” ECF No. 902 at 1. Defendants move to dismiss the Indictment on the basis that the
 9    Government has (1) created a false narrative, and (2) made false and misleading assertions
10    of fact.
11           “Under its supervisory powers, a district court may dismiss an indictment with
12    prejudice for prosecutorial misconduct only if there is ‘(1) flagrant misbehavior and (2)
13    substantial prejudice.’” Bundy, 968 F.3d at 1031 (quoting United States v. Kearns, 5 F.3d
14    1251, 1253 (9th Cir. 1993)). The court may invoke its supervisory power in response to
15    outrageous government conduct that “does not rise to the level of a due process violation.”
16    Id. at 1030 (quoting United States v. Barrera-Moreno, 951 F.2d 1089, 1091 (9th Cir.
17    1991)). However, dismissal with prejudice is the most drastic remedy a Court can impose.
18    See, e.g., United States v. Isgro, 974 F.2d 1091, 1097 (9th Cir. 1992) (“Such dismissal [of
19    an indictment with prejudice] exercised under the guise of ‘supervisory power’ is
20    impermissible absent ‘a clear basis in fact and law for doing so.’” (quoting United States
21    v. Chanen, 549 F.2d 1306, 1313 (9th Cir. 1977))). To warrant dismissal pursuant to the
22    court’s supervisory powers, “government conduct must be so grossly shocking and
23    outrageous as to violate the universal sense of justice.” United States v. Kearns, 5 F.3d
24    1251, 1253 (9th Cir. 1993) (citing United States v. Green, 962 F.2d 938, 941 (9th Cir.
25    1992)).
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28      Furthermore, Defendants did not request the Court fashion an instruction to introduce this information
      to impeach Sanchez as a hearsay declarant.

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 1    I.    False Narrative
 2          Defendants argue that the Government created a “false narrative about prostitution”
 3    that “cannot be remedied by an instruction or recalling of government witnesses.” ECF
 4    No. 873 at 3. The Court already determined that a curative instruction remedied any
 5    potential harm to Defendant Lausman based on the Government’s statement in opening
 6    that he accepted the services of a prostitute. As to the other Defendants, evidence
 7    introduced throughout trial supports the Government’s assertion that Francis did provide
 8    the services of prostitutes to coconspirators. Additionally, the Court found supra that the
 9    statement by Ynah does not foreclose the possibility that prostitution occurred at the Manila
10    party. She admitted in her statement to investigators that Francis paid her to “go with”
11    Defendant Lausman to his hotel room and do “something.” ECF No. 846-1 at 7–8.
12          Defendants rely on United States v. Obagi, 965F. 3d 993, 998 (9th Cir. 2020), to
13    argue that an instruction to disregard evidence and argument is insufficient to cure the harm
14    caused by a prosecutor’s presentation of a false narrative. ECF No. 873 at 39. However,
15    the present case is distinguishable from Obagi. In Obagi, the Ninth Circuit reversed the
16    defendants’ convictions because the government failed to disclose until after closing
17    argument that a key cooperating witness had previously cooperated with the government
18    in a similar but separate case. However, the Ninth Circuit said that had the false evidence
19    been discovered “prior to the close of evidence,” the presumption that the jury would
20    follow a curative instruction by the court “likely would govern.” Obagi, 965F. 3d at 997.
21    Here, the disclosure regarding Ynah came in the middle of the Government’s case and
22    before any evidence was offered regarding Defendant Lausman accepting the services of a
23    prostitute. The Court issued a curative instruction, and Defendants had sufficient time to
24    use the late disclosed information and argue appropriately.
25          The Court finds the curative instruction adequately remedied any harm to
26    Defendants created by the Government’s argument during opening statement regarding
27    Ynah. The overall narrative that prostitution services were available to coconspirators was
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 1    sufficiently supported by evidence at trial, and therefore does not warrant the extreme
 2    remedy of dismissal.
 3    II.   False Statements
 4          Defendants argue that the Government made false statements to the Court that (1)
 5    the alleged prostitutes would not testify because the Court declined to grant them
 6    anonymity; and (2) federal agents had contacted Ynah. Defendants also argue that the
 7    Government tendered known false evidence in violation of Napue v. Illinois, 360 U.S. 264
 8    (1959).
 9          “A claim under Napue will succeed when (1) the testimony (or evidence) was
10    actually false, (2) the prosecution knew or should have known that the testimony was
11    actually false, and (3) the false testimony was material.” Henry v. Ryan, 720 F.3d 1073,
12    1084 (9th Cir. 2013) (quotations omitted). “Mistaken, inaccurate or rebuttable” testimony
13    does not give rise to a Napue claim. Id.
14          As to Defendants’ first claim, Defendants point to a statement by the Government
15    that the alleged prostitutes would not testify because the Court denied the Government’s
16    motion that they be guaranteed anonymity. Although the Court takes candor to the tribunal
17    seriously, this statement does not rise to the level of “flagrant misbehavior” that would
18    support dismissal of the Indictment as it had no bearing on the evidence or testimony
19    presented at trial. See Kearns, 5 F.3d at 1253.
20          As to the false statements regarding the contact with Ynah, the Court finds that Mr.
21    Pletcher’s failure to disclose the Ynah contact amounted to flagrant misconduct. Federal
22    agents approached Mr. Pletcher about the matter on four separate occasions, and he
23    repeatedly rebuffed them. It is clear to the Court that the information was willfully
24    withheld from Defendants and misrepresented to the Court. The Court sanctioned this
25    behavior when it instructed the jury that the curative instruction “stems from the
26    Government’s failure to timely disclose favorable evidence applicable to Mr. Lausman.”
27    However, the Court finds Defendants have not demonstrated they suffered substantial
28    prejudice. The prejudice to Defendants was minimal and already remedied by a curative

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 1    instruction. Accordingly, the Court declines to exercise its supervisory powers and dismiss
 2    the Indictment on this basis.
 3            In sum, Defendants have not demonstrated the alleged prosecutorial misconduct
 4    substantially prejudiced them.     Therefore, the extreme remedy of dismissal is not
 5    appropriate.
 6                                         CONCLUSION
 7            The Court has implemented lesser sanctions than dismissal to remedy any prejudice
 8    Defendants may have suffered.        Furthermore, the Court also has sanctioned the
 9    Government for its flagrant misconduct. The drastic remedy of dismissal is not warranted
10    under these facts. Accordingly, the Court DENIES Defendants’ Motions (ECF Nos. 873,
11    902).
12            IT IS SO ORDERED.
13    Dated: July 13, 2022
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